Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 1 of 24
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 2 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                     July 9, 2018


                            REMITTANCE COPY
                      PLEASE RETURN WITH PAYMENT
      DIRECT ACCOUNTING INQUIRIES TO (804) 775-1601 or (800) 775-2202

                                                             INVOICE NO. 92129891

Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071

                                                         TAX ID NO.      XX-XXXXXXX

                                                         JOINT GROUP #2072056


     Balance Forward from Prior Invoices:                             $17,215.27
     (IF BALANCE FORWARD PREVIOUSLY PAID, PLEASE DISREGARD)

     Current Invoice:
          Current Fees:                            $7,110.50
          Current Disbursements:                     $283.52
          Current Invoice Total:                                        $7,394.02
     Total Balance Due:                                               $24,609.29



                 PLEASE REMIT PAYMENT TO THE FOLLOWING ADDRESS:

                      McGuireWoods LLP
                      Attn: Accounts Receivable
                      800 E. Canal Street
                      Richmond, VA 23219-3916


                    PAYMENT IN FULL IS DUE UPON PRESENTATION
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 3 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                     July 9, 2018



Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071
                                                             Bill Through: 06/30/18


INVOICE NO.      92129891                                    TAX ID NO. XX-XXXXXXX


     FOR PROFESSIONAL SERVICES RENDERED AND EXPENSES INCURRED:

Re: Employment and Fee Applications
    Our File No.             2072056-0090


06/19/18 Analyze issues regarding interim fee                              .40
         applications
           Sarah B. Boehm

06/20/18 Analyze issues regarding fee application                          .20
           Sarah B. Boehm

  Timekeeper                            Rate/HR          Hours          Fees
   Sarah B. Boehm                       $600.00            0.6            $360.00

                            TOTAL FEES                     0.6            $360.00


Re: Litigation
    Our File No.                   2072056-0120


06/01/18 Review Equity Committee filings (0.2);                            .40
         telephone conference with B. Wainger regarding
         Equity committee motion, position, filing with
         EDVA Norfolk (0.2)
           Robert W. McFarland
        Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 4 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   2
Invoice No. 92129891                                               July 9, 2018



06/03/18 Review new pleadings, correspondence and                        .40
         communications on Premier sale, bankruptcy
         plans
           Robert W. McFarland

06/04/18 Review, revise Debtor's Response to Equity                      .60
         Motion for Appt. of Trustee
           Robert W. McFarland

06/05/18 Conference call with B. Wainger and liability                   .50
         insurance counsel M. Nenning on liability
         coverage position (0.3); telephone conference
         with B. Wainger regarding dec action (0.2)
           Robert W. McFarland

06/05/18 Assist R. McFarland with research         regarding             .10
         officers and directors
           Krystal Lynne Gollogly

06/06/18 Review, revise draft periodic report                            .90
           Robert W. McFarland

06/07/18 Telephone conference with B. Wainger regarding                  .30
         litigation policy issues
           Robert W. McFarland

06/08/18 Review communications with B. Wainger,                          .50
         Creditors' counsel on periodic report (0.1);
         letter to Chief Judge Smith, clerk regarding
         periodic report (0.1); work on insurance
         coverage dec action (0.3)
           Robert W. McFarland

06/11/18 Communications with B. Wainger on periodic                      .60
         report (0.2); revise periodic report (0.2);
         review new correspondence, filings, pleadings
         (0.2)
           Robert W. McFarland

06/12/18 Telephone conference with B. Wainger regarding                  .10
         periodic report filing
           Robert W. McFarland

06/20/18 Review new pleadings on approval of sale (0.4);                1.00
         review coverage opinion letter from
         AIG/National Union (0.6)
           Robert W. McFarland
        Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 5 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   3
Invoice No. 92129891                                               July 9, 2018



06/22/18 Telephone conference with B. Wainger regarding                  .00 NO CHARGE
         coverage opinions and filings with Norfolk
         court approving sale
           Robert W. McFarland

06/26/18 Telephone conference with B. Wainger regarding                  .30
         filing of motion for approval of sale,
         bankruptcy issues (0.2); review new
         communications on motion for approval (0.1)
           Robert W. McFarland

06/27/18 Review, revise memo in support of Premier sale                 2.40
         (1.9); communications with B. Wainger,
         co-counsel on motion for approval, exhibits
         (0.3); revise motion for approval (0.2)
           Robert W. McFarland

06/27/18 Prepare exhibits to memorandum in support of                    .20
         motion to approve asset purchase agreement and
         authorize the sale of RMST's stock
           Krystal Lynne Gollogly

06/28/18 Communications with co-counsel, J. Sanders on                  1.30
         motion for approval (0.3); revise motion, memo
         for appeal (0.6); letter to Chief Judge Smith
         with exhibits, revised periodic report (0.2);
         telephone conference with B. Wainger regarding
         filings, coverage issues (0.2)
           Robert W. McFarland

06/28/18 Prepare exhibits for motion to approve asset                    .80
         purchase agreement and authorize the sale of
         100% of RMST's stock to Premier Acquisition
         Holdings LLC or other qualified purchaser as
         approved by the bankruptcy court
           Krystal Lynne Gollogly

06/29/18 Review, revise coverage letter to AIG for BOD                  1.20
         Tail coverage (0.8); finalize motion for
         approval of sale filings (0.2); communications
         with B. Wainger on approval pleadings,
         Jacksonville court ruling (0.2)
           Robert W. McFarland

06/29/18 Revise, proof motion for sale and memo in                       .00
         support (0.3)
           Robert W. McFarland
        Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 6 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   4
Invoice No. 92129891                                               July 9, 2018



06/29/18 Prepare motion to approve asset purchase                        .60
         agreement and authorize the sale of 100% of the
         RMST's stock to Premier Acquisition Holdings
         LLC or other qualified purchaser as approved by
         the court for filing
           Krystal Lynne Gollogly

  Timekeeper                          Rate/HR          Hours          Fees
   Robert W. McFarland                $600.00           10.5          $6,300.00
   Krystal Lynne Gollogly             $265.00            1.7            $450.50

                         TOTAL FEES                     12.2          $6,750.50



Disbursements and Other Expenses:
06/05/18 WELLS FARGO - Safe Deposit Box No. VAWBA7787630                $125.00
         Inv# 051518 Date: 05/15/2018
06/05/18 WELLS FARGO - Safe Deposit Box No. VAWBA7787629                $125.00
         Inv# 052318 Date: 05/23/2018
06/20/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                      $25.43
         LOGISTICS - Courier Service 06/12/18 deliver to
         United States District Court, Clerks Office,
         Norfolk, VA for R. McFarland (0591) Inv# 1114667
         Date: 06/19/2018
06/20/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                           $8.09
         LOGISTICS - Courier Service 06/12/18 deliver to
         United States District Court, Norfolk, VA for R.
         McFarland (0591) Inv# 1114667 Date: 06/19/2018

                         TOTAL EXPENSES                                 $283.52




             Summary of Fees and Expenses:

                    Total Fees for all Matters:                       $7,110.50

                    Total Expenses for all Matters:                     $283.52

                    Total for this Invoice:                           $7,394.02
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 7 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                     August 16, 2018


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      DIRECT ACCOUNTING INQUIRIES TO (804) 775-1601 or (800) 775-2202

                                                             INVOICE NO. 92142545

Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071

                                                         TAX ID NO.      XX-XXXXXXX

                                                         JOINT GROUP #2072056


     Balance Forward from Prior Invoices:                             $24,609.29
     (IF BALANCE FORWARD PREVIOUSLY PAID, PLEASE DISREGARD)

     Current Invoice:
          Current Fees:                            $8,948.00
          Current Disbursements:                     $350.38
          Current Invoice Total:                                        $9,298.38
     Total Balance Due:                                               $33,907.67



                 PLEASE REMIT PAYMENT TO THE FOLLOWING ADDRESS:

                      McGuireWoods LLP
                      Attn: Accounts Receivable
                      800 E. Canal Street
                      Richmond, VA 23219-3916


                    PAYMENT IN FULL IS DUE UPON PRESENTATION
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 8 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                     August 16, 2018



Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071
                                                             Bill Through: 07/31/18


INVOICE NO.      92142545                                    TAX ID NO. XX-XXXXXXX


     FOR PROFESSIONAL SERVICES RENDERED AND EXPENSES INCURRED:

Re: Employment and Fee Applications
    Our File No.             2072056-0090


07/05/18 Revise interim fee application                                    .60
           Sarah B. Boehm

07/05/18 Email Debtor's main counsel regarding fee                         .20
         application filings
           Courtney A. McCormick

07/11/18 Finalize fee application                                          .50
           Courtney A. McCormick

  Timekeeper                            Rate/HR          Hours          Fees
   Sarah B. Boehm                       $600.00            0.6            $360.00
   Courtney A. McCormick                $480.00            0.7            $336.00

                            TOTAL FEES                     1.3            $696.00


Re: Litigation
    Our File No.                   2072056-0120
        Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 9 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   2
Invoice No. 92142545                                               August 16, 2018



07/02/18 Review coverage letter to AIG representative                    .30
         O'Neil (0.2); review new correspondence,
         communications on bankruptcy sale (0.1)
           Robert W. McFarland

07/03/18 Review new correspondence, pleadings (0.1);                     .30
         telephone conference with B. Wainger regarding
         supplemental periodic status report on Euclid
         motion, NOAA issues (0.2)
           Robert W. McFarland

07/06/18 Review, revise periodic report (0.2);                           .50
         communications with B. Wainger, W. Poynter on
         supplemental periodic report, creditor position
         with EDVA (0.3)
           Robert W. McFarland

07/08/18 Review unsecured creditors motion for                          1.00
         conference and related correspondence
           Robert W. McFarland

07/09/18 Draft, revise, proof periodic report on Euclid                 1.50
         motions, unsecured motions (0.7); telephone
         conference with B. Wainger (2x) regarding
         opposition to unsecured creditors motion in
         Norfolk federal court, issues (0.4); review new
         pleadings, correspondence (0.3); letter to
         Chief Judge Smith, Clerk regarding periodic
         report (0.1)
           Robert W. McFarland

07/09/18 Confer with B. Wainger regarding notice of                      .10
         appearance and financial interest disclosure
           Krystal Lynne Gollogly

07/10/18 Review, revise opposition to unsecured motion                  2.00
         (1.7); communications with B. Wainger on
         opposition to unsecured motion (0.3)
           Robert W. McFarland

07/11/18 Revise, proof objection to museum (0.9);                       1.70
         communications with co-counsel on objection,
         motions in bankruptcy case (0.3); review new
         coverage denial from Argonaut (0.2); finalize
         tail coverage letter to AIG counsel E. O'Neil
         (0.3)
           Robert W. McFarland
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 10 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   3
Invoice No. 92142545                                               August 16, 2018



07/12/18 Telephone conference with B. Wainger regarding                  .30
         objections to Museum standing (0.1); finalize
         objections to Museum filing (0.1); letter to
         clerk regarding objection (0.1)
           Robert W. McFarland

07/12/18 File objection to notice of appearance                          .10
           Krystal Lynne Gollogly

07/13/18 Review U.S. Attorney/NOAA response brief on                     .70
         motion for approval (0.4); review new
         correspondence from Sellers and Weiser counsel
         on coverage (0.1); review new pleadings,
         correspondence (0.2)
           Robert W. McFarland

07/25/18 Review Government/NOAA status report                            .20
           Robert W. McFarland

07/25/18 Review status report filed on behalf of United                  .10
         States of America
           Krystal Lynne Gollogly

07/26/18 Telephone conference, communications with B.                   1.00
         Wainger on 7/25 hearing, continuance of 8/10
         hearing with Chief Judge Smith (0.3); draft,
         revise letter to Chief Judge Smith continuing
         8/10 hearing (0.4); review new correspondence,
         filings (0.2); telephone conference with AUSA
         K. Porter regarding 8/10 hearing (0.1)
           Robert W. McFarland

07/27/18 Review new pleadings by NMM, U.S. Government                    .40
         (0.3); communications with B. Wainger on
         response to NMM opposition (0.1)
           Robert W. McFarland

07/27/18 Review communications regarding submitting                      .10
         reply to NMM's objection
           Krystal Lynne Gollogly

07/30/18 Draft, review and revise NMM standing reply                    2.30
         brief (0.6); review and revise motions, memo
         for continuance (0.5); emails with B. Wainger,
         H. Winberg on motions, insurance coverage
         issues, in Norfolk action via-a-vis bankruptcy
         (0.9); review new pleadings (0.3)
           Robert W. McFarland
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 11 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   4
Invoice No. 92142545                                               August 16, 2018



07/30/18 Revise reply to response to objection to notice                 .10
         of appearance
           Krystal Lynne Gollogly

07/30/18 Review Motion to appear pro hac vice by N.                      .10
         Quartaro
           Krystal Lynne Gollogly

07/31/18 Communications with B. Wainger, co-counsel on                  1.20
         Norfolk hearing, NMM standing, and insurance
         coverage response to EC (0.5); revise, proof
         NMM objection reply (0.3); review new
         correspondence, pleadings from Norfolk action
         (0.4)
           Robert W. McFarland

07/31/18 File Reply to NMM's response to Plaintiff's                     .20
         Objection to Notice of Appearance
           Krystal Lynne Gollogly

  Timekeeper                         Rate/HR          Hours          Fees
   Robert W. McFarland               $600.00           13.4          $8,040.00
   Krystal Lynne Gollogly            $265.00            0.8            $212.00

                         TOTAL FEES                     14.2         $8,252.00



Disbursements and Other Expenses:
         Copy Charges                                                   $209.80
         Pacer Research                                                   $6.00
07/11/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                      $29.24
         LOGISTICS - Courier Service 06/28/18 deliver to
         United States District Court, Clerks Office,
         Norfolk, VA for R. McFarland (0591) Inv# 1114674
         Date: 06/30/2018
07/11/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                       $8.09
         LOGISTICS - Courier Service 06/28/18 deliver to
         Chief Judge Rebecca B. Smith, Norfolk, VA for R.
         McFarland (0591) Inv# 1114674 Date: 06/30/2018
07/11/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                       $8.09
         LOGISTICS - Courier Service 06/29/18 deliver to
         United States District Court, Rebecca Smith,
         Chief Judge, Norfolk, VA for R. McFarland (0591)
         Inv# 1114674 Date: 06/30/2018
07/11/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                      $22.12
         LOGISTICS - Courier Service 06/29/18 deliver to
         United States District Court, Clerks Office,
         Norfolk, VA for R. McFarland (0591) Inv# 1114674
         Date: 06/30/2018
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 12 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   5
Invoice No. 92142545                                               August 16, 2018



07/18/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                      $25.43
         LOGISTICS - Courier Service 07/09/18 deliver to
         United States District Court, Clerks Office,
         Norfolk, VA for R. McFarland (0591) Inv# 1114682
         Date: 07/17/2018
07/18/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                       $8.09
         LOGISTICS - Courier Service 07/09/18 deliver to
         United States District Court, Norfolk, VA for R.
         McFarland (0591) Inv# 1114682 Date: 07/17/2018
07/18/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                      $25.43
         LOGISTICS - Courier Service 07/12/18 deliver to
         United States District Court, Clerks Office,
         Norfolk, VA for R. McFarland (0591) Inv# 1114682
         Date: 07/17/2018
07/18/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                       $8.09
         LOGISTICS - Courier Service 07/12/18 deliver to
         United States District Court, Norfolk, VA for R.
         McFarland (0591) Inv# 1114682 Date: 07/17/2018

                         TOTAL EXPENSES                                 $350.38




             Summary of Fees and Expenses:

                   Total Fees for all Matters:                       $8,948.00

                   Total Expenses for all Matters:                      $350.38

                   Total for this Invoice:                           $9,298.38
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 13 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                      September 18, 2018


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      DIRECT ACCOUNTING INQUIRIES TO (804) 775-1601 or (800) 775-2202

                                                             INVOICE NO. 92151850

Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071

                                                         TAX ID NO.      XX-XXXXXXX

                                                         JOINT GROUP #2072056


     Balance Forward from Prior Invoices:                              $33,907.67
     (IF BALANCE FORWARD PREVIOUSLY PAID, PLEASE DISREGARD)

     Current Invoice:
          Current Fees:                            $12,421.00
          Current Disbursements:                      $140.44
          Current Invoice Total:                                       $12,561.44
     Total Balance Due:                                                $46,469.11



                 PLEASE REMIT PAYMENT TO THE FOLLOWING ADDRESS:

                      McGuireWoods LLP
                      Attn: Accounts Receivable
                      800 E. Canal Street
                      Richmond, VA 23219-3916


                    PAYMENT IN FULL IS DUE UPON PRESENTATION
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 14 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                      September 18, 2018



Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071
                                                             Bill Through: 07/31/18


INVOICE NO.      92151850                                    TAX ID NO. XX-XXXXXXX


     FOR PROFESSIONAL SERVICES RENDERED AND EXPENSES INCURRED:

Re: Employment and Fee Applications
    Our File No.             2072056-0090


08/17/18 Prepare order on sixth interim fee application                     .30
           Anna Haugen

08/17/18 Assess and analyze sixth interim fee                               .20
         application for purposes of providing order on
         application
           Anna Haugen

08/23/18 Revise fee application order                                       .20
           Sarah B. Boehm

  Timekeeper                            Rate/HR          Hours          Fees
   Sarah B. Boehm                       $600.00            0.2            $120.00
   Anna Haugen                          $315.00            0.5            $157.50

                            TOTAL FEES                      0.7            $277.50


Re: Litigation
    Our File No.                   2072056-0120
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 15 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   2
Invoice No. 92151850                                               September 18, 2018



08/01/18 Telephone conference with B. Wainger regarding                  .10
         insurance coverage issues, dec action, hearing
         on 8/10
           Robert W. McFarland

08/02/18 Telephone conference with Chief Judge Smith                     .50
         clerk S. Cherry regarding hearing on 8/10
         (0.1); communications with B. Wainger on 8/10
         hearing, insurance coverage issues for
         directors, bankruptcy court ruling (0.2);
         review bankruptcy court order and effect on
         RMST
           Robert W. McFarland

08/03/18 Revise periodic report on bankruptcy court 8/2                  .60
         rulings (0.2); telephone conference with B.
         Wainger on 8/10 hearing issues (0.2);
         communications with co-counsel, client on
         periodic report, hearing (0.2)
           Robert W. McFarland

08/06/18 Communications with B. Wainger, H. Winsberg on                  .10
         periodic report
           Robert W. McFarland

08/07/18 Telephone conference with B. Wainger regarding                  .20
         hearing on 8/10, intervention
           Robert W. McFarland

08/08/18 Review new orders, communications on 8/10                       .30
         hearing, motions (0.2); communications with
         co-counsel on hearing, intervention (0.1)
           Robert W. McFarland

08/11/18 Communications with counsel on hearing (0.2)                    .00
           Robert W. McFarland

08/13/18 Review coverage opinion on allocation from AIG                  .40
         and related correspondence (0.2); review,
         revise objections to Equity Committee standing
         (0.2)
           Robert W. McFarland

08/14/18 Telephone conference with B. Wainger regarding                  .20
         coverage, allocation issues for Directors on
         Equity claims
           Robert W. McFarland

08/16/18 Communications with B. Wainger on EC                            .10
         intervention motion
           Robert W. McFarland
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 16 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   3
Invoice No. 92151850                                               September 18, 2018



08/17/18 Review motions to intervene by EC and NMM                      1.70
         (1.1); telephone conference with B. Wainger
         regarding responses to motions to intervene,
         hearing (0.2); communications with B. Wainger,
         W. Poynter on motions to intervene, responses
         (0.4)
           Robert W. McFarland

08/17/18 Review motion to intervene and docket                           .20
         opposition deadline
           Krystal Lynne Gollogly

08/20/18 Communications with B. Wainger, W. Poynter on                  3.40
         hearing issues (0.6); conference call with B.
         Wainger, J. Sanders on hearing issues (0.9);
         telephone conference with AUSA K. Porter
         regarding hearing on 8/21 (0.2); prepare for
         hearing on 8/21 (1.7)
           Robert W. McFarland

08/21/18 Meet with J. Sanders, H. Winsberg, B. Wainger                  5.40
         and prepare for hearing (1.7); prepare for and
         attend status conference hearing (3.5);
         telephone conference with B. Wainger regarding
         opposition motion to intervene, next steps
         (0.2)
           Robert W. McFarland

08/22/18 Telephone conference with B. Wainger regarding                  .30
         hearing date, briefing (0.1); communications
         with EC attorney P. Gurfein regarding briefing,
         hearing (0.2)
           Robert W. McFarland

08/22/18 Review order and docket deadlines                               .20
           Krystal Lynne Gollogly

08/23/18 Brief review of hearing transcript                              .20
           Robert W. McFarland

08/23/18 Review notice regarding transcript of                           .20
         proceedings held on August 21, 2018 and docket
         deadlines
           Krystal Lynne Gollogly

08/27/18 Review and reply to new correspondence,                        1.10
         communications from co-counsel on Periodic
         Report, intervention (0.4); review, revise
         Periodic Report (0.5); review Eyos submission
         to Chief Judge Smith (0.2)
           Robert W. McFarland
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 17 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   4
Invoice No. 92151850                                               September 18, 2018



08/27/18 Review letter from EYOS Expeditions                             .10
           Krystal Lynne Gollogly

08/29/18 Review, revise opposition brief to Museum                      2.40
         motion to intervene (2.2); review and reply to
         communications on motions, opposition (0.2)
           Robert W. McFarland

08/30/18 Review, revise objection to EC motion to                       1.20
         intervene (0.9); review, revise objections to
         Museum intervention (0.3)
           Robert W. McFarland

08/31/18 Review, revise opposition briefs to                            1.20
         intervention by Museum, EC
           Robert W. McFarland

08/31/18 Finalize and file oppositions to motions to                    1.20
         intervene with exhibits
           Krystal Lynne Gollogly

  Timekeeper                         Rate/HR          Hours          Fees
   Robert W. McFarland               $600.00           19.4         $11,640.00
   Krystal Lynne Gollogly            $265.00            1.9            $503.50

                         TOTAL FEES                     21.3        $12,143.50



Disbursements and Other Expenses:
         Pacer Research                                                   $4.10
08/20/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                      $28.13
         LOGISTICS - Courier Service 08/07/18 deliver to
         United States District Court, Clerks Office,
         Norfolk, VA for R. McFarland (0591) Inv# 1114702
         Date: 08/14/2018
08/20/18 MOBILE ONE COURIER SERVICES, INC./ CARGO &                       $8.09
         LOGISTICS - Courier Service 08/07/18 deliver to
         United States District Court, Norfolk, VA for R.
         McFarland (0591) Inv# 1114702 Date: 08/14/2018
08/22/18 Robert McFarland - Lunch - Lunch for RMST                       $59.62
         hearing prep for hearing in USDC, on 08/21/2018
         Brian Wainger, Billy Poynter, Jessica Sanders,
         Harris Winsberg, Robert McFarland
08/23/18 Jody Stewart, CRR, RMR - Transcript of hearing                  $40.50
         8.21.18 Inv# 20180054 Date: 08/23/2018

                         TOTAL EXPENSES                                 $140.44
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 18 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   5
Invoice No. 92151850                                               September 18, 2018




             Summary of Fees and Expenses:

                   Total Fees for all Matters:                      $12,421.00

                   Total Expenses for all Matters:                      $140.44

                   Total for this Invoice:                          $12,561.44
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 19 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                      October 11, 2018


                            REMITTANCE COPY
                      PLEASE RETURN WITH PAYMENT
      DIRECT ACCOUNTING INQUIRIES TO (804) 775-1601 or (800) 775-2202

                                                             INVOICE NO. 92159420

Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071

                                                         TAX ID NO.      XX-XXXXXXX

                                                         JOINT GROUP #2072056


     Balance Forward from Prior Invoices:                              $46,469.11
     (IF BALANCE FORWARD PREVIOUSLY PAID, PLEASE DISREGARD)

     Current Invoice:
          Current Fees:                            $12,030.50
          Current Disbursements:                      $385.23
          Current Invoice Total:                                       $12,415.73
     Total Balance Due:                                                $58,884.84



                 PLEASE REMIT PAYMENT TO THE FOLLOWING ADDRESS:

                      McGuireWoods LLP
                      Attn: Accounts Receivable
                      800 E. Canal Street
                      Richmond, VA 23219-3916


                    PAYMENT IN FULL IS DUE UPON PRESENTATION
          Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 20 of 24




Sarah B. Boehm                                       Gateway Plaza
804 775 7487                                         800 East Canal Street
                                                     Richmond, VA 23219-3916


                                                      October 11, 2018



Premier Exhibitions, Inc.
3045 Kingston Court
Suite I
Peachtree Corners, GA 30071
                                                             Bill Through: 07/31/18


INVOICE NO.      92159420                                    TAX ID NO. XX-XXXXXXX


     FOR PROFESSIONAL SERVICES RENDERED AND EXPENSES INCURRED:

Re: Employment and Fee Applications
    Our File No.             2072056-0090


09/26/18 Analyze issues regarding fee applications                          .20
           Sarah B. Boehm

  Timekeeper                            Rate/HR          Hours          Fees
   Sarah B. Boehm                       $600.00            0.2            $120.00

                            TOTAL FEES                      0.2            $120.00


Re: Litigation
    Our File No.                   2072056-0120


09/05/18 Review new filings, correspondence in                              .20
         intervention
           Robert W. McFarland

09/06/18 Communications with EC attorney P. Gurfein on                      .60
         withdrawal of intervention motion (0.1); review
         EC intervene withdrawal (0.1); review NMM reply
         brief on intervention (0.4)
           Robert W. McFarland
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 21 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   2
Invoice No. 92159420                                               October 11, 2018



09/06/18 Review status report regarding August 30, 2018                  .10
         bankruptcy court hearing
           Krystal Lynne Gollogly

09/07/18 Review, revise periodic report                                  .50
           Robert W. McFarland

09/11/18 Review Judge Glenn order and NOAA status report                 .20
           Robert W. McFarland

09/11/18 Review status report by United States of                        .10
         America
           Krystal Lynne Gollogly

09/12/18 Review, revise draft periodic report (0.7);                    1.00
         communications with co-counsel on periodic
         report, NOAA filing (0.3)
           Robert W. McFarland

09/13/18 Revise periodic report (0.4); communications                    .70
         with co-counsel on periodic report and NOAA
         position on sale (0.3)
           Robert W. McFarland

09/14/18 Revise, finalize periodic report (0.6);                         .80
         communications with B. Wainger on periodic
         report, hearing (0.1); review new
         correspondence (0.1)
           Robert W. McFarland

09/14/18 Review and file periodic report (.1); upload                    .30
         same to electronic repository (.1);
         communication with B. Wainger attaching filed
         periodic report (.1);
           Krystal Lynne Gollogly

09/17/18 Review new correspondence from AUSA, NOAA on                    .80
         APA approval issues, documents (0.3);
         conference call with co-counsel and SHP counsel
         on US/NOAA document requests, hearing (0.4);
         telephone conference with court clerk S. Cherry
         regarding hearing on 9/18 (0.1)
           Robert W. McFarland

09/18/18 Prepare for and attend hearing on federal court                5.20
         (5.0); review new correspondence and
         communications from NOAA (0.2)
           Robert W. McFarland
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 22 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   3
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09/18/18 Review electronic filing notification regarding                 .10
         continuation of status hearing
           Krystal Lynne Gollogly

09/19/18 Confer with court reporter regarding expedited                  .20
         copy of hearing transcript
           Krystal Lynne Gollogly

09/19/18 Review court notifications and       deadlines                  .40
           Krystal Lynne Gollogly

09/20/18 Conference call with AUSA K. Porter, NOAA                       .90
         attorney J. Rolleri, B. Wainger regarding OYOS
         order (0.5); review and revise EYOS order (0.4)
           Robert W. McFarland

09/21/18 Review new correspondence on EYOS expedition                   2.00
         (0.4); conference call with AUSA K. Porter and
         NOAA attorney J. Rolleri on EYOS order,
         jurisdiction (0.5); conference call with B.
         Wainger, D. Gallo on EYOS issues (0.7);
         conference call with D. Gallo, B. Wainger, B.
         Lang on EYOS expedition (0.4)
           Robert W. McFarland

09/21/18 Review transcript from September 18th hearing                   .10
         and upload same to electronic repository
           Krystal Lynne Gollogly

09/24/18 Revise order on EYOS expedition (0.5);                         1.80
         conference call with NOAA attorney J. Rolleri
         and B. Wainger on EYOS order (0.2); telephone
         conference with B. Wainger regarding due
         diligence, EYOS expedition (0.2); review and
         reply to new correspondence, communications on
         EYOS, insurance coverage issues, documents for
         NOAA document production (0.9)
           Robert W. McFarland

09/25/18 Extensive communications with NOAA counsel on                   .80
         order, EYOS' expedition (0.3); communications
         with B. Wainger on order, EYOS, due diligence
         documents (0.2); revise order on EYOS (0.3)
           Robert W. McFarland
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 23 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   4
Invoice No. 92159420                                               October 11, 2018



09/26/18 Communications with NOAA counsel on Order,                     1.60
         McCallum declaration (0.3); draft, revise
         McCallum declaration (0.2); communications with
         R. McCallum on declaration (0.2); review,
         revise due diligence response (0.7); letters to
         clerk regarding order, McCallum letter (0.2)
           Robert W. McFarland

09/27/18 Review and reply to new communications from                     .10
         AUSA K. Porter on order, filings
           Robert W. McFarland

09/27/18 Review court notice attaching letter to F.                      .10
         Galindo enclosing an endorsed agreed order
         regarding EYOS and update electronic repository
         with same
           Krystal Lynne Gollogly

09/27/18 Review court notice attaching letter to judge                   .20
         enclosing letter from EYOS Expeditions and memo
         from Droycon Bioconcepts and upload same to
         electronic repository
           Krystal Lynne Gollogly

09/28/18 Communications with B. Wainger on EYOS, due                    1.90
         diligence issues (0.5); review, revise due
         diligence response to NOAA (1.1); review NOAA
         status report on EYOS (0.2); communications
         with AUSA Porter on due diligence (0.1)
           Robert W. McFarland

09/28/18 Review order regarding EYOS research and upload                 .10
         same to electronic repository
           Krystal Lynne Gollogly

  Timekeeper                         Rate/HR          Hours          Fees
   Robert W. McFarland               $600.00           19.1         $11,460.00
   Krystal Lynne Gollogly            $265.00            1.7            $450.50

                         TOTAL FEES                     20.8        $11,910.50



Disbursements and Other Expenses:
09/05/18 MOBILE ONE COURIER SERVICES, INC. - Courier                     $25.43
         Service 08/28/18 deliver to United States
         District Court, Norfolk, VA for R. McFarland
         (0591) Inv# 1114711 Date: 08/31/2018
09/05/18 MOBILE ONE COURIER SERVICES, INC. - Courier                      $8.09
         Service 08/28/18 deliver to United States
         District Court, Norfolk, VA for R. McFarland
         (0591) Inv# 1114711 Date: 08/31/2018
       Case 3:16-bk-02230-PMG   Doc 1253-2   Filed 11/01/18   Page 24 of 24
RMS Titanic, Inc.
File Number: 2072056                                               Page   5
Invoice No. 92159420                                               October 11, 2018



09/13/18 MOBILE ONE COURIER SERVICES, INC. - Courier                     $25.97
         Service 09/07/18 deliver to United States
         District Court, Clerks Office, Norfolk, VA for
         R. McFarland (0591) Inv# 1114715 Date:
         09/11/2018
09/13/18 MOBILE ONE COURIER SERVICES, INC. - Courier                      $9.15
         Service 09/07/18 deliver to United States
         District Court, Norfolk, VA for R. McFarland
         (0591) Inv# 1114715 Date: 09/11/2018
09/20/18 Robert McFarland - Lunch - lunch before hearing:                $59.62
         Wainger, Poynter, Winsberg, Sanders, McFarland,
         on 09/18/2018 Brian Wainger, Billy Poynter,
         Robert McFarland
09/24/18 Jody Stewart, CRR, RMR - Transcript of hearing                 $223.45
         on 8.31.18 Inv# 20180068 Date: 09/21/2018
09/26/18 MOBILE ONE COURIER SERVICES, INC. - Courier                     $25.43
         Service 09/17/18 deliver to United States
         District Court, Clerks Office, Norfolk, VA for
         R. McFarland (0591) Inv# 1114722 Date:
         09/25/2018
09/26/18 MOBILE ONE COURIER SERVICES, INC. - Courier                      $8.09
         Service 09/17/18 deliver to United States
         District Court, Norfolk, VA for R. McFarland
         (0591) Inv# 1114722 Date: 09/25/2018

                         TOTAL EXPENSES                                 $385.23




             Summary of Fees and Expenses:

                   Total Fees for all Matters:                      $12,030.50

                   Total Expenses for all Matters:                      $385.23

                   Total for this Invoice:                          $12,415.73
